237 F.2d 919
    UNITED STATES of America, Appellant,v.LINCOLN DINNER CLUB.
    No. 15658.
    United States Court of Appeals Eighth Circuit.
    Oct. 5, 1956.
    
      William C. Spire, U.S. Atty., Omaha, Neb., and Richard C. Peck, Asst. U.S. Atty., Plattsmouth, Neb., for appellant.
      Allen W. Field and Lewis R. Ricketts, Lincoln, Neb., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on dismissal of appeal filed by appellant.  143 F.Supp. 398.
    
    